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                             UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF NORTH DAKOTA

                               NORTHWESTERN DIVISION



 United States Securities and Exchange              Court File No. 4:15-cv-053
 Commission,

                Plaintiff,

         vs.
                                                 SECOND INTERIM FEE APPLICATION
 North Dakota Developments, LLC, Robert L.         FOR PROFESSIONAL FEES AND
 Gavin, and Daniel Hogan,                          EXPENSES OF RECEIVER GARY
                                                            HANSEN
                Defendants,

 and

 North Dakota Developments Property
 Management LLC, Great American Lodge
 LLC, NDD Holdings 1 LLC, NDD Holdings
 2 LLC, NDD Modular LLC, Augusta
 Exploration, LLC, and Ames Engineering &
 Development Services LLC,

                Relief Defendants.


        For his Second Interim Fee Application for Professional Fees and Expenses of Receiver

Gary Hansen (“Application”), Receiver Gary Hansen (the “Receiver”) states:

        A.     Information about the Applicant and the Application

        The Receiver was appointed on May 18, 2015 pursuant to the Court’s Order Granting

Plaintiff’s Motion for Preliminary Injunction and Appointment of Receiver, Asset Freeze, and

other Equitable Relief [Dkt. No. 20] (“Receiver Order”). This Second Interim Fee Application

covers services provided by the Receiver and his law firm Fox Rothschild LLP (“Fox

Rothschild”), from December 1, 2016 through January 31, 2018.
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       Pursuant to the Receiver’s agreement with the United States Securities and Exchange

Commission (“SEC”), the Receiver reduced his hourly rate for this matter to $525. All other

rates were reduced by ten percent, with a cap of $525. Below is a list of the names and hourly

rates of all professionals and paraprofessionals at Fox Rothschild who have provided services to

the Receivership during this billing time period.

        Timekeeper               2016 Rate 2017/ Jan. 2018 Rate

        Gary Hansen              $525.00                $525.00

        Phillip Martin           $450.00                $450.00

        Ranelle Leier            $418.50                $445.50

        David Galle              $405.00                $405.00

        Matthew Lasley           $351.00                $369.00

        Alex Rubenstein          $274.50                $315.00

        Thomas Moran             $229.50                $288.00

        Samuel Tunheim                                  $288.00

        Aisha Elmquist                                  $292.50

        Lyndsey Wurst                                   $135.00

        Stephen Overby           $175.50                $180.00


       B.      Status Update

       Since his appointment, the Receiver has extensively investigated the available assets of

the receivership entities. The identified assets are far less than the approximately $60 million

contributed by investors. The Receiver has also spent significant time communicating with

creditors of North Dakota Developments, LLC (“NDD”) and the other receivership entities, as

well as the defrauded investors in NDD. Although the Receiver was able to negotiate

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settlements with certain creditors resulting in additional moneys being brought into the

receivership, most of these efforts did not necessarily generate funds for the receivership.

Nonetheless, the Receiver viewed his communications with creditors and investors as important

services to be provided as part of the receivership.

       The Receiver recently entered into a purchase agreement for the sale of the mobile

housing units and the real property located at the proposed Great American Lodge – Culberton,

in Culbertson, Montana. The Receiver has submit a motion to authorize and confirm the sale to

the Court. [Dkt. No. 146.] Pursuant to the purchase agreement, the purchaser will pay a

purchase price of $300,000 at closing. As detailed in the Receiver’s initial fee application, the

Receiver previously sold the assets located on the Great American Lodge – Watford West

property, with the purchase price being made in installment payments. The purchaser of the

Great American Lodge – Watford West assets has made his scheduled installments payments.

One installment payment remains, which is due in May 2018. The Receiver continues to market

the remaining receivership assets and to investigate additional sources of funds for the

receivership.

       As of the date of this filing, the receivership has approximately $1,360,000 in cash in its

bank account. Since the initial fee application, the Receiver received the following additional

payments:

            •   $365,501.50 as the second installment payment from the sale of the Watford West
                assets;

            •   $367,523.00 as the third installment payment from the sale of the Watford West
                assets.

       Since the initial fee application, the Receiver has spent an additional approximately

$50,000.00 in administration of the receivership. The vast majority of these expenses fall into



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two main categories: (1) fees and expenses related to patrolling and upkeep at the Culbertson

site; and (2) the payment of property taxes.

       The Receiver continues to compile creditor claims against the receivership entities.

Exclusive of investor claims, the Receiver is currently aware of creditor claims totaling in excess

of $2 million. To date, the Receiver has not paid any creditor claims. Instead, once the

receivership assets are liquidated, the Receiver will propose a distribution plan to the Court,

which will include a process for notice to all known and unknown claimants and an opportunity

for such claimants to be heard.

       C.      Current Fees and Expenses

       This is the Receiver’s second fee application. The Receiver is requesting approval from

the Court for the payment of attorney’s fees in the amount of $172,505.55 and expenses in the

amount of $420.76 for the time period December 1, 2016 through January 31, 2018. Prior to the

submission of the Application to the Court, the Receiver provided the SEC copies of the

Receiver’s billing statements to the SEC for its review and comment. The Receiver is also

submitting the Receiver’s billing statements to the Court for in camera review.

       The chart below sets forth the billing professional or paraprofessional, the total hours

billed by each person, and the total amount of billing for each person during the December 1,

2016 through January 31, 2018 time period.

       Timekeeper          Total Hours Total Billing
 Gary Hansen                      44.80 $ 23,520.00
 Phillip Martin                     .40 $    180.00
 Ranelle Leier                   321.50 $139,513.05
 David Galle                       1.10 $     445.50
 Matthew Lasley                    6.90 $ 2,546.10
 Alex Rubenstein                   2.40 $     756.00
 Aisha Elmquist                    7.30 $ 2,135.25
 Samuel Tunheim                    2.80 $     806.40

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 Thomas Moran                        2.00    $    576.00
 Stephen Overby                     11.30    $ 1,986.75
 Lindsey Wurst                         .3    $     40.50
 TOTAL                             400.80    $172,505.55


         The expenses for which the Receiver seeks reimbursement are summarized in the chart

below.

        Expenses – 12/1/2016 - 1/31/2018
 Category                             Amount
 Electronic research/Pacer           $ 9.50
 Registered agent annual fee         $65.00
 Messenger/Overnight delivery        $19.26
 Business filing fees                $327.00
                            TOTAL $420.76


         The Receiver’s billing statements provide detailed time entries describing the work

performed by each timekeeper and include additional details regarding the expenses for which

the Receiver seeks reimbursement. In support of this Application, the Receiver has also

submitted a Certification indicating inter alia that all of the fees and expenses for which he is

seeking reimbursement are true and accurate and that such fees are reasonable, necessary and

commensurate with the skill and experience required for the activity performed.

         Pursuant to the Billing Instructions provided to the Receiver by the SEC, the Receiver

acknowledges that, to the extent requested by the SEC, this Application may be subject to a 20%

holdback of the requested fees and expenses, and that the total amounts held back during the

course of the receivership will be paid out at the discretion of the Court as part of the final fee

application submitted at the close of the receivership. If the SEC make such a request, the

Receiver does not object to this request. If the Court orders that any of the requested fees and




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expenses be held back, such funds will be held by the Receiver in a segregated account, payment

of which will be considered by the Court with the Receiver’s final fee application.

       Therefore, the Receiver respectfully requests the Court to authorize payment to the

Receiver in amount of $172,926.31.

 Dated: February 23, 2018              FOX ROTHSCHILD LLP


                                       By: s/ Gary Hansen
                                          Gary Hansen (MN #40617) admitted pro hac vice
                                          Ranelle Leier (MN #277587) admitted pro hac vice

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                                       RECEIVER AND ATTORNEY FOR RECEIVER FOR
                                       DEFENDANT NORTH DAKOTA DEVELOPMENTS,
                                       LLC AND RELIEF DEFENDANTS




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